Case 1:18-cv-22922-KMM Document 1 Entered on FLSD Docket 07/19/2018 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO:

 GERALDINE BUENAVENTURA,
 as Personal Representative of the
 Estate of BEN BUENAVENTURA,

        Plaintiff,
 vs.

 NCL (BAHAMAS) LTD.,
 D-I DAVIT INTERNATIONAL, INC.,
 HATECKE SERVICE USA, LLC

       Defendants.
 ______________________________________/

                                   NOTICE OF REMOVAL

        Defendant, NCL (Bahamas) LTD. (“Norwegian”) removes this action from the Circuit

 Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida, and states:

                                 GROUNDS FOR REMOVAL

        1.      This matter is removable pursuant to 9 U.S.C. § 205 as Norwegian seeks to

 compel this matter to arbitration under the Convention on the Recognition and Enforcement of

 Foreign Arbitral Awards (“The Convention Act” 9 U.S.C. § 201-08).

        2.      Ben Buenaventura, a citizen of the Philippines, was employed onboard the

 Bahamas-flagged ship Norwegian Breakaway.

        3.      Geraldine Buenaventura (“Plaintiff”) is Mr. Buenaventura’s wife and alleges that

 he died on August 27, 2016, during the course of his employment aboard the Norwegian

 Breakaway.




                                    MASE MEBANE & BRIGGS
Case 1:18-cv-22922-KMM Document 1 Entered on FLSD Docket 07/19/2018 Page 2 of 6

                                                               CASE NO.:


         4.     On April 27, 2018, Plaintiff filed a Complaint in the Eleventh Judicial Circuit in

 and for Miami-Dade County, Florida; case number 2018-013789-CA(01). In compliance with

 28 U.S.C. § 1446, the entire State file and docket sheet is attached as Exhibit 1.

         5.     Plaintiff’s employment with Norwegian was governed by the terms of the

 Contract of Employment. [Exhibit 2]. The Contract of Employment incorporates by reference

 terms and conditions promulgated by the Republic of Philippines’ Philippine Overseas

 Employment Administration (“POEA”), including mandatory arbitration for seafarer claims such

 as this one.

         6.     The place of the arbitration is the Philippines.

         7.     The Contract of Employment is commercial in nature.

         8.     The Parties’ arbitration agreement is governed by the Convention Act.

         9.     Removal of this action is proper. This Court has original jurisdiction over this

 action according to the Convention Act and its enabling legislation. Under 9 U.S.C. § 205:

                Where the subject matter of an action or proceeding pending in a
                State court relates to an arbitration agreement or award falling
                under the Convention, the defendant or the defendants may, at any
                time before the trial thereof, remove such action or proceeding to
                the district court of the United States for the district and division
                embracing the place where the action or proceeding is pending.

 In addition, pursuant to 28 U.S.C. § 1333(1) this Court has original jurisdiction over this matter,

 as:

                The district courts shall have original jurisdiction, exclusive of the
                courts of the States, of: (1) Any civil case of admiralty or maritime
                jurisdiction, saving to suitors in all cases all other remedies to
                which they are otherwise entitled.

         10.    As explained above, the grounds for removal under the Convention Act are:

                a.      There has been no trial of the state court action;



                                              2
                                     MASE MEBANE & BRIGGS
Case 1:18-cv-22922-KMM Document 1 Entered on FLSD Docket 07/19/2018 Page 3 of 6

                                                                CASE NO.:


                b.      Plaintiff is a citizen of the Philippines;

                c.      The Contract of Employment contains an arbitration agreement that

 requires arbitration of the subject claims;

                d.      The Contract of Employment is commercial in nature;

                e.      The place of the arbitration is the Philippines; and

                f.      Norwegian filed the applicable filing fee.

        11.     This Court has jurisdiction over this action, and this case should be removed to

 the United States District Court for the Southern District of Florida.

                                    MEMORANDUM OF LAW

        Federal district courts may exercise removal jurisdiction over cases for which they have

 original jurisdiction. Francisco v. Stolt Achievement MT, 293 F.3d 270, 272 (5th Cir. 2002)

 (citing 28 U.S.C. § 1441(a)). An action for which a district court has original jurisdiction

 “founded on a claim or right arising under the Constitution, treaties or laws of the United States

 shall be removable…” Id. “Under § 203 of the Convention Act, ‘[a]n action or proceeding falling

 under the Convention shall be deemed to arise under the laws and treaties of the United States.’

        Notwithstanding the savings to suitors clause, under § 205 of the Convention Act,

 ‘Where the subject matter of an action or proceeding in a State court relates to an arbitration

 agreement or award falling under the Convention, the defendant or the defendants may, at any

 time before the trial thereof, remove such action or proceeding to the district court of the United

 States for the district and division embracing the places where the action or proceeding is

 pending.’” Id. This Court has original jurisdiction over this matter to compel arbitration. Bautista

 v. Star Cruises, 396 F.3d 1289 (11th Cir. 2005); Lindo v. NCL (Bahamas), Ltd., 652 F.3d 1257

 (11th Cir. 2011). Norwegian’s removal is also timely as there has been no trial of the state court



                                               3
                                      MASE MEBANE & BRIGGS
Case 1:18-cv-22922-KMM Document 1 Entered on FLSD Docket 07/19/2018 Page 4 of 6

                                                             CASE NO.:


 action. 9 U.S.C. § 205; Acosta v. Norwegian Cruise Line, Ltd., 303 F. Supp. 2d 1327, n.2 (S.D.

 Fla. 2003).

        Foreign seaman arbitration agreements, like the one in this case, are universally enforced

 by this Court and the Eleventh Circuit pursuant to the Convention Act. E.g., Bautista, 396 F.3d at

 1289; Lindo, 652 F.3d at 1257; Maxwell v. NCL (Bahamas) Ltd., 454 F. App’x 709 (11th Cir.

 2011). In deciding whether to compel arbitration under the Convention, this Court must conduct

 a very limited inquiry. See Bautista, 396 F.3d at 1294. A district court must order arbitration

 unless (1) the four jurisdictional prerequisites are not met, or (2) one of the Convention’s

 affirmative defenses applies. Id.

        The four jurisdictional prerequisites are: (1) there is an agreement in writing to arbitrate

 the dispute; (2) the agreement provides for arbitration in the territory of a signatory to the

 Convention; (3) the agreement to arbitrate arises out of a commercial legal relationship; and (4) a

 party to the agreement is not an American citizen. Id. This Court has jurisdiction to enforce the

 arbitration agreement here as all four prerequisites are met. The arbitration agreement are in

 writing—the Contract of Employment; the arbitration agreement provides for arbitration in

 the Philippines, signatories to the Convention; the arbitration agreement arises out of a

 commercial, legal relationship, Bautista, 396 F.3d at 1300; and Plaintiff is not a United States

 citizen. This case must be compelled to arbitration.

        None of the Convention’s affirmative defenses to arbitration apply either. A party may

 only avoid arbitration under the Convention where “said agreement is null and void, inoperative

 or incapable of being performed.” Lindo, 652 F.3d at 1263. The affirmative defenses are

 confined to “standard breach-of-contract defenses” such as fraud, mistake, duress, and waiver

 “that can be applied neutrally on an international scale.” Id. Public policy or unconscionability



                                              4
                                     MASE MEBANE & BRIGGS
Case 1:18-cv-22922-KMM Document 1 Entered on FLSD Docket 07/19/2018 Page 5 of 6

                                                              CASE NO.:


 arguments are not valid affirmative defenses to prevent the enforcement of an arbitration

 agreement under the Convention. Id. at 1280. Plaintiff has no valid affirmative defense to

 arbitration in this case. In fact, in Amizola, a public policy objection was made by a seaman-

 plaintiff seeking to prevent removal to federal court. This objection, among others, was rejected

 and as the seaman entered into a standard POEA contract, the case was properly removed to

 federal court pursuant to 9 U.S.C. 205. See Amizola, 354 F.Supp.2d at 696.

        WHEREFORE, Defendant Norwegian, hereby removes this action from the Eleventh

 Judicial      Circuit       In      And        For       Miami-Dade          County,       Florida,

 and respectfully requests that this Court assume full and complete jurisdiction over this matter,

 issue all necessary orders and all relief to which Norwegian is entitled, and grant any other relief

 that this Court deems just and proper.


                                               Respectfully submitted,

                                               MASE MEBANE & BRIGGS, P.A.
                                               Attorneys for Defendant
                                               2601 South Bayshore Drive, Suite 800
                                               Miami, Florida 33133
                                               Telephone: (305) 377-3770
                                               Facsimile: (305) 377-0080

                                               By:    /s/ Cameron W. Eubanks
                                                      CURTIS J. MASE
                                                      Florida Bar No.478083
                                                      cmase@maselaw.com
                                                      kfehr@maselaw.com
                                                      filing@maselaw.com
                                                      CAMERON W. EUBANKS
                                                      Florida Bar No.: 85865
                                                      ceubanks@maselaw.com
                                                      filing@maselaw.com




                                              5
                                     MASE MEBANE & BRIGGS
Case 1:18-cv-22922-KMM Document 1 Entered on FLSD Docket 07/19/2018 Page 6 of 6

                                                             CASE NO.:


                                 CERTIFICATE OF SERVICE


        I certify that on July 19, 2018, a true and correct copy of the foregoing was sent by e-mail

 to: Michael A. Winkleman, Esq., mwinkleman@lipcon.com, Jason R. Margulies, Esq.,

 jmargulies@lipcon.com, Andria G. Notari, anotari@lipcon.com, and electronically filed the

 foregoing with the Clerk using the Florida Courts e-Filing Portal.



                                              /s/ Cameron Eubanks
                                              CAMERON EUBANKS

 BUENAVENTURA//9




                                             6
                                    MASE MEBANE & BRIGGS
